
779 So.2d 390 (2000)
J.A., a child, Appellant,
v.
STATE of Florida, Appellee.
No. 2D97-1551.
District Court of Appeal of Florida, Second District.
June 23, 2000.
Terri L. Backhus, Tampa, for Appellant.
Robert A. Butterworth, Attorney General, Tallahassee, and Michael J. Neimand, Assistant Attorney General, Ft. Lauderdale, for Appellee.
James D. Palermo, City Attorney, and Jerry M. Gewirtz, Assistant City Attorney, Tampa, for Amicus Curiae City of Tampa.
PER CURIAM.
J.A. appeals the trial court's adjudications of delinquency for grand theft and for violating Tampa's juvenile curfew ordinance. See Tampa, Fla., Code § 14-26(c) (1996). We affirm the adjudication of delinquency for grand theft without discussion. We reject J.A.'s contention that the ordinance is unconstitutional and affirm under the authority of J.P. v. State, 775 So.2d 324 (Fla. 2d DCA 2000), and State v. T.M., 761 So.2d 1140 (Fla. 2d DCA 2000).
We again certify the following questions of great public importance:
WHAT LEVEL OF SCRUTINY MUST A COURT APPLY WHEN REVIEWING THE CONSTITUTIONALITY OF *391 A JUVENILE CURFEW ORDNANCE?
WHETHER THE TAMPA JUVENILE CURFEW ORDINANCE IS CONSTITUTIONAL?
Affirmed.
ALTENBERND, A.C.J., and CASANUEVA and DAVIS, JJ., Concur.
